                 Case 2:20-cr-00162-RAJ Document 9 Filed 09/22/20 Page 1 of 3




 1

 2

 3

 4

 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                             Plaintiff,              Case No. MJ20-589-MLP

10          v.                                         DETENTION ORDER

11   FRANKLIN J. LICONA-RIVERA,

12                             Defendant.

13

14   Offenses charged:

15          Count 1:       Distribution of Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1),

16          (b)(1)(A) and 18 U.S.C. § 2

17   Date of Detention Hearing: On September 21, 2020, the Court held a hearing via a WebEx

18   videoconference due to the exigent circumstances as outlined in General Order 13-20. Defendant

19   consented to appear telephonically. This order is without prejudice to Defendant moving to

20   reopening his detention hearing.

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22

23

24

25
     DETENTION ORDER - 1
                  Case 2:20-cr-00162-RAJ Document 9 Filed 09/22/20 Page 2 of 3




 1   based upon the reasons for detention hereafter set forth, finds:

 2          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 3          1.       There is a rebuttable presumption of detention pursuant to 18 U.S.C. § 3142(e).

 4          2.       Defendant stipulated to detention.

 5          3.       Defendant poses a risk of nonappearance due to his criminal history, lack of

 6                   immigration status in the United States, possession of a Honduran passport, and

 7                   lack of a viable release plan. Defendant poses a risk of danger due to the nature and

 8                   circumstances of the alleged offenses, and also poses a risk to his girlfriend,

 9                   Gricelda Melissa Minnick, based on the active Renton Municipal Court No Contact

10                   Order prohibiting Defendant from contacting Ms. Minnick. Based on these

11                   findings, and for the reasons stated on the record, there does not appear to be any

12                   condition or combination of conditions that will reasonably assure Defendant’s

13                   appearance at future court hearings while addressing the danger to other persons or

14                   the community.

15          4.       Taken as a whole, the record does not effectively rebut the presumption that no

16                   condition or combination of conditions will reasonably assure the appearance of the

17                   Defendant as required and the safety of the community.

18          IT IS THEREFORE ORDERED:

19          (1)      Defendant shall be detained pending trial, and committed to the custody of the

20                   Attorney General for confinement in a correction facility separate, to the extent

21                   practicable, from persons awaiting or serving sentences or being held in custody

22                   pending appeal;

23

24

25
     DETENTION ORDER - 2
                 Case 2:20-cr-00162-RAJ Document 9 Filed 09/22/20 Page 3 of 3




 1         (2)      Defendant shall be afforded reasonable opportunity for private consultation with

 2                  counsel;

 3         (3)      On order of a court of the United States or on request of an attorney for the

 4                  government, the person in charge of the corrections facility in which Defendant is

 5                  confined shall deliver the defendant to a United States Marshal for the purpose of

 6                  an appearance in connection with a court proceeding; and

 7         (4)      The Clerk shall direct copies of this Order to counsel for the United States, to

 8                   counsel for the Defendant, to the United States Marshal, and to the United States

 9                   Pretrial Services Officer.

10         Dated this 22nd day of September, 2020.


                                                          A
11

12                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge
13

14

15

16

17

18

19

20

21

22

23

24

25
     DETENTION ORDER - 3
